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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                               §
                                                     §                CASE NO. 16-30822-DRJ
PRIMROSE LA SARA, LLC                                §                CHAPTER 7
                                                     §
                 DEBTOR.                             §
                                                     §
                                                     §
IN RE:                                               §
                                                     §
LA SARA OPERATING COMPANY,                           §
LLC                                                  §                CASE NO. 16-30453-DRJ
                                                     §                CHAPTER 7
                 DEBTOR.                             §
                                                     §

                       AMENDED STIPULATION AND AGREED ORDER

         This stipulation and agreed order (the “Stipulation and Order”)1 is entered into by and

between: Eva Engelhart (the “Trustee”), the Chapter 7 trustee for Primrose La Sara, LLC

(“Primrose”) and La Sara Operating Company, LLC, the Mineral Owners (as defined in the

Objection), La Sara Ventures 1, LLC (“LSV1”), Primrose Petroleum, LLC (“Petroleum”), MK

Operating Company LLC (“MK Operating”), BLAKEnergy Ltd. (“Blake”), and Tennyson Energy

Investment, LLC (collectively, the “Parties”), by and through their respective undersigned counsel

or representatives.

         WHEREAS, the Mineral Owners are parties to the Roadrunner Lease and the Crane

Mallard Lease (collectively, the “Leases”) covering approximately 6,000 acres in Willacy County,

Texas.




1
         Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Mineral
         Owner’s Objection to Trustee’s Expedited Motion for Authority to Sell Property Free and Clear of Liens and
         Claims and for Other Relief [Docket No. 117] (the “Objection”).

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        WHEREAS, the current working interest owners of record in the Leases are LSV1 (37%),

Primrose (34.5%), Blake (15%), and Petroleum (13.5%) (collectively, the “Lessee”);

        WHEREAS, the current operator of record of the Leases is MK Operating;

        WHEREAS, the Leases contain identical provisions regarding “continuous drilling

obligations” (see Paragraph VII(a) of the Crane Mallard Lease and Paragraph V(a) of the

Roadrunner Lease);

        WHEREAS, the Lessee contends that the continuous drilling obligations under the Leases

have been satisfied by the activities performed by the Lessees on the leased property to date;

        WHEREAS, the Leases contain “banked time” provisions for extending the time to drill

the next well in order to be engaged in continuous drilling; and

        WHEREAS, on September 16, 2016, the Mineral Owners filed Proof of Claim Nos. 15-

18 in Case No. 16-30822, stating as follows:

        that the [Mineral Owners] do not have sufficient facts to determine whether the
        Leases have been maintained by continuous drilling operations. Substantial issues
        may exist whether prior operations claimed by Primrose to constitute continuous
        drilling operations were commenced within the time required by the Leases and
        whether such operations constitute “continuous drilling operations” as defined by
        the Leases. Claimants do not at this time contest Primrose’s or MK Operating’s
        allegations with respect to the status of the Leases, nor do Claimants concur with
        those allegations. Claimants reserve the right in the future, based on facts to be
        determined, to contend that either or both of the Leases have terminated (except as
        to producing wells) by cessation of continuous drilling operations;


        WHEREAS, on November 7, 2016, the Mineral Owners filed the Objection, which

repudiated the Leases as to those portions of each oil and gas lease not allocated on an acreage

basis to producing oil and gas wells as provided in Paragraph VII of the Crane Mallard Lease and

in Paragraph V of the Roadrunner Lease; and




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         WHEREAS, the Mineral Owners have agreed to maintain their repudiation for at least 90

calendar days from November 8, 2016.

         NOW THEREFORE, the Parties stipulate and agree as follows:

         1.     The Mineral Owners agree not to revoke or rescind their repudiation of the Leases

for 90 calendar days from November 8, 2016, ending on February 7, 2017. In the event that on or

after February 8, 2017, the Mineral Owners revoke or rescind their repudiation of the Leases, or

otherwise reaffirm the Leases, by a signed notice delivered to the Lessee’s counsel by email or

other form of delivery, then the matter of the Mineral Owners’ repudiation shall be deemed to be

resolved and the Leases shall continue in full force and effect according to their terms as of the

date of such notice, provided that the number of days between November 8 2016 and the date the

Mineral Owners revoke or rescind their repudiation or otherwise reaffirm the Leases shall not be

counted against the owners of the leasehold estate in the Leases for any purpose, including the

calculation of time for drilling operations under the terms of the Leases.

         2.     Except to the extent provided herein, nothing in this Stipulation and Order shall

constitute a waiver of any claim or defenses of any of the Parties.

         3.     This Stipulation and Order will be binding and effective upon execution by the

parties hereto and entry by the Court. This Stipulation and Order may be executed in counterparts

by facsimile or other electronic transmission, each of which will be deemed an original, and all of

which when taken together will constitute one document.

         4.     The Court will retain jurisdiction over all matters related to this Stipulation and

Order.




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        5.      This Stipulation and Order amends that Stipulation and Order filed and entered at

Docket Numbers 127 and 129 respectively in Case No. 16-30822 and Docket Numbers 68 and 71

respectively in Case No. 16-30453.

                                     [Signature Pages Follow]




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AGREED TO AND ACCEPTED BY:


EVA S. ENGELHART, TRUSTEE

By: /s/ Marc Douglas Myers


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CHAPTER 7 TRUSTEE FOR PRIMROSE LA
SARA, LLC AND LA SARA OPERATING, LLC


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ATTORNEYS FOR MK OPERATING, LLC




SO ORDERED:



UNITED STATES BANKRUPTCY JUDGE

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